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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 RAMON JAQUEZ, on behalf of himself
 and all others similarly situated,

                             Plaintiff,
                                                     Civil Case Number: 1:20-cv-07589-JPO
               -v-

 DERMPOINT, INC.,

                             Defendant.


                             DISMISSAL ORDER


IT IS HEREBY ORDERED:


       THAT pursuant to the parties’ September 13, 2021 Stipulation of Dismissal, all claims

asserted against Defendant in Civil Action No. 1:20-cv-07589-JPO, are dismissed with prejudice;

and

       THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.




SO ORDERED THIS 14th day of September 2021.




                                           ___________________________
                                           HONORABLE J. PAUL OETKEN
                                           UNITED STATES DISTRICT JUDGE
